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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

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Crim. No. 21-cr-00537 (JMC)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PAUL RUSSELL JOHNSON,
Defendant.
Government Exhibits |
No. Description Witness Admitted? Date
1 Unredacted Search Su LLIVNAN 3-\7-202L- UNEEL |
Warrant MALDONADO COAL
2 Compilation of Exhibits SULUVAN 7
2A-2C 7
2A Photograph of White
Trailer FAULKNOP 3° ¥]-7L
| SULLNAN IL
2B Photograph of Four-Car \
Garage FRAUEN
SULLIVA ob
2C Photograph of
Farmhouse FRUVEN oe
— SULLAVAN, -
3 Photograph of Master SWLUAN iN
Bedroom Closet with
Backpack . _
4 Photograph of Backpack | C\UAAV AN
and Contents
5 Photograph of Safe in
Master Bedroom FAU LENCE
6 Photograph of Walkie- |MITCHELY i
Talkies in Open Safe in ‘
Master Bedroom __

 

 

 

 

 

 

 

 
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7 Close-up Photograph of
Walkie-Talkies in Safe in

MITCHELL
CUE

L

 

 

 

Master Bedroom J |
8 Declaration of Laura M. .JORNSO
Eeimovie PY Hl 3\12012, AL
DMV ZECORDS OF  [P. JOHNGON OVER ANTE
4 |pee 324° 22 | OBECTION cen
ECF DOCUMENT 47 |yonNSON 3-74-22

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